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 5                                    UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,                              No. CR-09-2035-EFS-1
                                                            No. CR-09-2035-EFS-2
 8                                     Plaintiff,
                                                            ORDER VACATING COUNT 5 AS TO BOTH
 9                     v.
                                                            DEFENDANTS, VACATING COUNT 3 AS TO
                                                            DEFENDANT WAHCHUMWAH, AND
10   RICKY S. WAHCHUMWAH (1) and                            DIRECTING THE ENTRY OF AMENDED
     VICTORIA M. JIM (2),                                   JUDGMENTS
11
                                       Defendants.
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             A hearing occurred in the above-captioned matter on July 10,
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     2013.        Tim Ohms appeared on the U.S. Attorney’s Office’s behalf.
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     Defendant         Ricky        Wahchumwah      was     present,       represented    by   Karen
16
     Lindholdt1; Defendant Victoria Jim was present, represented by Philip
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     Nino.        At    the       hearing,    the   Court    determined      which   multiplicitous
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     counts to vacate following the Ninth Circuit’s mandate.                          ECF No. 474.
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     On   appeal,           the    Ninth     Circuit     determined    that,    as   to   Defendant
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     Wahchumwah, Counts 2 and 3, and Counts 4 and 5 are multiplicitous, and
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     that as to Defendant Jim, Counts 4 and 5 are multiplicitous.
22
             After considering the parties’ respective positions as to which
23
     multiplicitous counts to vacate, the Court adopts the Defendants’
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     position.         See United States v. Maier, 646 F.3d 1148, 1155 (9th Cir.
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26           1
                 Defendant Wahchumwah’s trial counsel, John Moore, was also present.



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 1   2011) (recognizing that the discretion as to which count to vacate

 2   rests      with      the     court       after      considering       the   totality   of   the

 3   circumstances).            Accordingly, IT IS HEREBY ORDERED:

 4           1.       The USAO’s Motion to Vacate Convictions on Specified Counts

 5                    of Superseding Indictment, ECF No. 484, is GRANTED IN PART

 6                    (multiplicitous counts are vacated) and DENIED IN PART (the

 7                    counts are vacated as proposed by Defendants).

 8           2.       As to Defendant Wahchumwah, Counts 3 and 5 are VACATED.

 9                    The previously-imposed $100.00 special penalty assessment

10                    as to each of these Counts is VACATED and returned as

11                    appropriate.

12           3.       As to Defendant Jim, Count 5 is VACATED.                     The   previously-

13                    imposed $100.00 special penalty assessment as to Count 5 is

14                    VACATED and returned as appropriate.

15           4.       The Judgments shall be amended accordingly.

16           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

17   Order and provide copies to counsel and the U.S. Probation Office.

18           DATED this 24th day of July 2013.

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20                                           s/Edward F. Shea
                                               EDWARD F. SHEA
21                                  Senior United States District Judge

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